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                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


ERIN PRESTON,
                                                 ADDITIONAL BRIEFING IN SUPPORT
                             Plaintiff,          OF DEFENDANT’S MOTION FOR
                                                 PARTIAL JUDGMENT ON THE
              vs.                                PLEADINGS

PROVIDENCE HALL CHARTER SCHOOL,                     Case No. 2:15cv00589

                             Defendant.

                                                    Judge Jill N. Parrish


       Defendant Providence Hall Charter School (PHCS), by and through counsel, Jeffrey

Robinson and Lucia Maloy, Assistant Utah Attorneys General, respectfully submits the

following additional briefing as requested by the Court in its September 20, 2017 Order (Doc.

48).
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                                        INTRODUCTION

       The question of whether PHCS is a “person” under 42 U.S.C § 1983 (“§ 1983”) was

presented to this Court in Defendant’s Motion for Partial Judgment on the Pleadings. (Doc. 40).

Plaintiff opposes the motion. (Doc. 43). In an Order issued September 20, 2017, this Court

requested additional briefing to address whether determination of “person” status is a question of

federal or state law and whether this Court should certify questions asking the Utah Supreme

Court to clarify PHCS’s character under state law. (Doc. 48).

       This Court is the proper forum for determining whether PHCS is a “person” for the

purposes of § 1983. Any holding by the Utah Supreme Court would have no binding effect

because § 1983 provides a federal remedy for violation of federally protected civil rights even

where there is an actionable remedy under state law for the same conduct. Monroe v. Pape, 365

U.S. 167, 183-87 (1961). Essentially, Congress enacted § 1983 to provide a federal remedy in the

federal judicial forum to vindicate federal rights independent of state influence. Id. While federal

courts look to state laws or rules in making determinations, state law cannot alter either the

elements of or defenses to § 1983 claims. Hewlett By and Through Hewlett v. Rose, 496 U.S.

356, 376 (1990). Even in a state court, federal law provides the necessary elements for making a

determination of “person” status under § 1983. Ambus v. Utah State Bd. of Educ., 858 P.2d 1372,

1377 (Utah 1993).




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                                          ARGUMENT

I.     THE DETERMINATION OF WHETHER PHCS IS A “PERSON” UNDER § 1983
       IS A MATTER OF FEDERAL LAW AND SHOULD NOT BE CERTIFIED TO
       THE UTAH SUPREME COURT.

       A.      Federal Law Determines Whether An Entity Is A “Person” For The
               Purposes of § 1983 Litigation.

       A principal purpose behind the enactment of § 1983 was to provide a federal forum to

remedy many deprivations of civil liberties. Will v. Michigan Dept. of State Police, 491 U.S. 58,

66 (1989). Section 1983 does not create a cause of action in state law. Id. Instead, § 1983

provides a method for vindicating federal rights. Albright v. Oliver, 510 U.S. 266, 271 (1994).

Any defenses, including immunity, “to a federal right of action are,. . ., controlled by federal

law.” Hewlett, 496 U.S. at 376. That means that the elements of and the defenses to § 1983 must

be defined by federal law. See Id.

       The Tenth Circuit holds that Eleventh Amendment immunity is a question of federal law

reviewed de novo. Sturdevant v. Paulson, 218 F.3d 1160, 1164 (10th Cir. 2000); Steadfast Ins. v.

Agricultural Ins. Co., 507 F.3d 1250, 1253 (10th Cir. 2007). While the scope of the Eleventh

Amendment and § 1983 are separate issues, the United States Supreme Court continually

declines to adopt a reading of § 1983 that disregards analysis of the scope of the Eleventh

Amendment. Will, 491 U.S. 66-67. The U.S. Supreme Court observed that the “person” and

Eleventh Amendment issues are closely related to each other. Vermont Agency of Natural

Resources v. U.S. ex rel. Stevens, 529 U.S. 765, 779 (2000). Entities entitled to Eleventh

Amendment immunity are not “persons” under federal statute. Id. In either case, ultimately,

whether a particular state agency is an arm of the state, and therefore entitled to Eleventh



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Amendment immunity, thereby precluded from “person” status is a federal question. Regents of

the University of California v. Doe, 519 U.S. 425, 429, n.5 (1997).

       B.      State Law May Inform The Federal Court’s Determination.

       Although the question of whether a particular state agency has Eleventh Amendment

immunity is a matter of federal law, the Tenth Circuit recognizes that the federal question can be

informed by considering provisions of state law that define the agency’s character because

federal courts, generally, are not “writing on a blank slate,” meaning that the subject agency has

likely been characterized in state law through statute or case law. See V-1 Oil Co. v. Utah State

Dept. of Public Safety, 131 F.3d 1415, 1420, n.1 (10th Cir. 1997) (citing Regents of the Univ. of

Cal. v. Doe, 519 U.S. 425, n. 5 (1997)); Steadfast, 507 F.3d at 1253. The federal court may look

to the characterization of the agency in both state statute and previous lawsuits to inform its

determination. Id. But, where there is conflict or uncertainty, the federal courts must view the

issue of immunity as a federal question. Duke v. Grady Mun. Schools, 127 F.3d 972, 978 (10th

Cir. 1997).

       C.      State Court Holdings Are Not Dispositive To The Federal Court’s
               Determination.

       The Tenth Circuit has made clear that federal courts should not view as dispositive state

court holdings regarding a state agency’s character. Steadfast,507 F.3d at 1253 (citing

Sturdevant, 218 F.3d at 1164). State holdings cannot be dispositive to a federal determination

because “[a] state may not, by statute or common law, create a cause of action under § 1983

against an entity whom Congress has not subjected to liability.” Hewlett, 496 U.S. at 376.

Neither may a state immunize by state law conduct which is wrongful under § 1983. Four Star

Ranch, Inc. v. Cooper, case no. 2:08-cv-394 TS, 2010 WL 3489567, *3 (D. Utah 2010)

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(unpublished opinion) (quoting Martinez v. California, 444 U.S. 277, 284, n. 8, (1980)). The

characterization of a state entity under state law is a factor to which the federal court may look to

inform its determination, but a federal court cannot rely on a state court’s holding as dispositive.

       This situation has been addressed by a federal district court in Utah. In Giddings v. Utah

Transit Authority, the district court held that asserting immunity against “a federal right of action

is controlled by federal law.” 107 F. Supp.3d 1205, 1207 (D. Utah 2015). Although state courts

may hold that a governmental entity is “entitled to share in the state’s sovereign immunity, the

extent of Eleventh Amendment immunity is a question of federal law.” Id. quoting Ambus v.

Granite Bd. of Educ., 995 F.2d 992, 995 (10th Cir. 1993). In Giddings, the district court found

that although Utah Transit Authority (UTA) was a governmental entity under state law, UTA

was not an arm of the state for the purposes of federal law. Id. UTA failed to provide the federal

analysis and relied instead on state court holdings to establish Eleventh Amendment status. Id.

State court holdings characterizing an agency as a governmental entity under state law are not

sufficient grounds to find immunity under federal law. Id. The district court was clear that

immunity under federal law is independent of state characterization under state law.

II.    THE UTAH SUPREME COURT HAS ALREADY DECLARED THAT THE
       STATUS OF “PERSON” UNDER § 1983 IS A FEDERAL QUESTION

       In the state court companion case to Ambus v. Granite Bd. of Ed., 995 F.2d 992 (10th Cir.

1993), the Utah Supreme Court addressed the question before this Court. The Utah Supreme

Court held that “[t]he issue of immunity in a federal civil rights case is a matter of federal law.”

Ambus v. Utah State Bd. of Educ., 858 P.2d 1372, 1377 (Utah 1993) (citing Martinez, 444 U.S. at

284, n.8). The Utah Supreme Court then looked to federal law to determine state entities were

not “persons” under § 1983. Id.

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       More recently, the Utah Court of Appeals followed the Utah Supreme Court’s holding in

Ambus, holding that immunity under federal statutes is a matter of federal law. Cline v. State Div.

of Child & Family Servs., 2005 UT App 498, ¶ 12, 142 P.3d 127. The Cline court further held

that Utah state statutes regarding immunity do not apply to suits brought under § 1983. Id.

       These cases establish that the determination of immunity under § 1983 is a matter of

federal law. Thus, certification to the Utah Supreme Court is not necessary.

III.   THE CHARACTER OF PHCS AS A STATE CREATED PUBLIC ENTITY IS
       ESTABLISHED BY UTAH STATUTE

       Although the determination of “person” status for the purposes of § 1983 claims is a

matter of federal law, upon careful review of this Court’s Order (Doc. 48), Defendant

understands the primary concern to be whether the federal Ambus factors, particularly the first

factor, require this Court to make a determination of state law. But a determination of state law is

not necessary because the Utah Legislature through statute authoritatively defined the character

of Utah charter schools.

       In Utah Sch. Boards Ass'n v. Utah State Bd. of Educ., the Utah Supreme Court analyzed

the character of charter schools under the statutes that create and regulate charter schools. 2001

UT 2, ¶¶ 2-3, 17 P.3d 1125, 1127. The Utah Legislature authorized the creation of charter

schools through the Utah Charter Schools Act (the “Act”). Id.; See Utah Code Ann. § 53A–1a–

501 et seq. The Utah Supreme Court noted that, under the Act, charter schools are part of the

state's public education system meant to contribute to the improvement and customization of

public education programs. Id.; See Utah Code Ann. § 53A–1a–503 and § 53A–1a–503.5(1)(a).

The Act gives the State Board a supervisory role with authority to review charter school

applications and either approve or deny each one. Id.; See Utah Code Ann. § 53A–1a–505. The

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Act clearly defines a school's charter as a contractual agreement with the State and states that the

charter may be modified only upon the mutual agreement of the school's governing body and the

State Board. Id.; See Utah Code Ann. § 53A–1a–503.5 and § 53A–1a–508(3). Under the Act,

charter school funding distribution is controlled by the State Board. Id.; See Utah Code Ann

§ 53A–1a–513. Accordingly, the Utah Supreme Court’s discussion makes clear that this Court

does not need to make a determination of state law or certify questions to the Utah Supreme

Court. The Act is a clear and unambiguous characterization of charter schools under state law.

                                         CONCLUSION

       The United States Supreme Court has held that the federal courts are the proper forum for

determining immunities under § 1983. The Tenth Circuit has clearly stated that federal courts do

not consider state law dispositive in determining “person” status under § 1983. And the Utah

Supreme Court has recognized that immunities under federal statutes in federal civil rights cases

are a matter of federal law. Although this Court may look to state law in making a determination

about “person” status under § 1983, there is no need to make a state law determination or certify

questions to the Utah Supreme Court because the Utah Charter Schools Act is a clear and

unambiguous statement of a charter school’s character under state law. For all these reasons,

Defendant submits that this Court is the proper forum to determine that PHCS is not a “person”

for the purposes of § 1983, and certification to the Utah Supreme Court for clarification of state

law is not necessary to this Court’s determination.




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